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                               UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF PENNSYLVANIA

VIRGIL MCNETT,                                )       Civil Action No. 21-CV-01064
                                              )
                Plaintiff,                    )
                                              )
       v.                                     )       Judge Robert J. Colville
                                              )
JEFFERSON-MORGAN                              )
SCHOOL DISTRICT,                              )
                                              )
                Defendant.                    )


                                              ORDER

NOW, this __          March
          4th day of _______, 2022, upon consideration of the Joint Stipulation

for Dismissal with Prejudice, it is hereby ORDERED that said Stipulation is GRANTED and that

the entire action, including all claims, stated herein, is hereby dismissed with prejudice.




                                                      BY THE COURT,



                                                         s/Robert J. Colville
                                                      ------------- J.
                                                           Robert J. Colville
                                                           United States District Judge
